t

Case 2:19-cr-20221-AC-APP ECF No. 47 filed 06/06/19 PagelD.104 Page 1of3

PS8
(8/88)

UNITED STATES DISTRICT COURT
For the
Eastern District of Michigan

U.S.A. vs. Griesemer, Brandon Docket No. 19-20221-01

Petition for Action on Conditions of Pretrial Release

COMES NOW Derek Brand Pretrial Services Officer, presenting an official report upon
the conduct of defendant Brandon Griesemer, who was placed under pretrial release supervision
by United States Magistrate Judge Anthony P. Patti, sitting in the Court at Detroit, on January
19, 2018, under the following conditions:

$10,000 Unsecured Bond

Report as directed to Pretrial Services

Actively seek and maintain employment

Surrender any passport to Pretrial Services

Do not obtain a passport or other international travel documents

Restrict travel to the Eastern District of Michigan

Avoid all victims or witnesses

Undergo a mental health assessment with mental health treatment as directed by Pretrial
Services

9. Possess no weapons

10. Possess no controlled substances unless prescribed by a licensed physician
11. Submit to drug testing and/or drug treatment as directed by Pretrial Services

SON AMP WN DS

Respectfully presenting petition for action of Court and for cause as follows:

On July 31, 2018, the defendant appeared before United States Magistrate Judge Anthony P.
Patti for a Bond Violation Hearing due to continued positive marijuana drug tests while on bond.
His bond and conditions were continued with the amended condition of third-party custodian to

his mother.

On November 20, 2018, the defendant appeared before United States Magistrate Judge Anthony
P, Patti for a Bond Violation due to him getting arrested on a Misdemeanor Domestic Violence
charge by the Novi Police Department on November 18, 2018. The defendant’s bond was
revoked, and he was ordered detained. Mr. Griesemer was sentenced to one year of probation for
Misdemeanor Domestic Violence on January 30, 2019 at the 52-1 District Court in Novi,
Michigan. His probation was violated due to him testing positive for marijuana (same use as
federal allegations), and his term of probation was extended six months along with the added

condition of alcohol testing.
a

Case 2:19-cr-20221-AC-APP ECF No. 47 filed 06/06/19 PagelD.105 Page 2 of 3

On December 19, 2018, the defendant appeared before United States Magistrate Judge Anthony
P. Patti for a Bond Review Hearing. His bond was reinstated with the original special conditions
of the bond, as well as the following modified conditions: report directly to inpatient residential
treatment upon release from custody and remain at facility until a recommendation for discharge
is made by staff. A Bond Status Hearing is to be held with the Court upon termination of
treatment. Mr. Griesemer was transported to Harbor Oaks on December 20, 2018 and was
discharged from that facility on January 2, 2019.

On January 2, 2019, the defendant appeared before United States Magistrate Judge Anthony P.
Patti for a Bond Review Hearing. His bond and conditions were re-instated with the amended
conditions that the defendant cannot leave unaccompanied unless for verifiable employment
purposes only, and he is to have no visitors outside of immediate family to the bond address. The
defendant’s father was also added as a third-party custodian.

On April 5, 2019, the defendant appeared before United States Magistrate Judge Anthony P.
Patti for a Bond Violation Hearing due to the defendant testing positive for marijuana. His bond
and conditions were continued with the amended conditions of zero tolerance, abide by his
district court probation conditions, and undergo home detention without location monitoring.

On April 16, 2019, the defendant appeared before United States Magistrate Judge David R.Grand
for an arraignment on an Information. His bond and conditions were continued.

On May 23, 2019, the defendant appeared before Your Honor for a Plea/Bond Review Hearing.
The defendant pleaded guilty before Your Honor and his bond and conditions were continued
with the amended condition of weekly in person reporting. The defendant’s conditions that he
cannot leave unaccompanied unless for verifiable employment purposes, and home detention
without location monitoring were ordered removed by Your Honor.

Per the Court’s Order, the defendant’s bond is to be amended to include weekly in person
reporting, and his conditions ordering that he cannot leave unaccompanied unless for
verifiable employment purposes, and home detention without location monitoring are
removed.

SO ORDERED
Case 2:19-cr-20221-AC-APP ECF No. 47 filed 06/06/19 PagelD.106 Page 3 of 3

ORDER OF COURT I declare under penalty of perjury that the

Considered and ordered this yor day of foregoing is true and correct.
20 and ordered filed and

ly 2
made a part of the records in the above case. Resccuted oh Nay 51, 2819

| Respectfully,

 

United States District Judge Avern Cohn siareh Beand

United States Pretrial Services Officer

Place: Detroit, Michigan
